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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
               v.                                :    Case No. 22-cr-00350-JEB
                                                 :
JUSTIN DEE ADAMS,                                :
                                                 :
                       Defendant.                :


                                   JOINT STATUS REPORT

       The United States of America and defendant Justin Dee Adams jointly file this status report

to update the Court on the status of the case.

       1. The parties have reached an agreement to resolve this case through a guilty plea in

           advance of trial. The defendant has signed the plea offer letter and statement of facts

           and returned them to counsel for the Government.

       2. As the Court is aware, the defendant is also under indictment in the District of Utah,

           where he is currently detained, in case number 22-cr-00419-DBB. A 3-day jury trial in

           that case is scheduled to begin on June 13, 2023.

       3. Accordingly, the parties respectfully propose to file a joint status report after the

           completion of the trial in Utah, or in the event the Utah case is resolved before trial, at

           which point the Court may determine when to schedule the plea hearing in this case.

       4. The parties agree that, pursuant to the Speedy Trial Act, the time between April 10,

           2023 and the next court conference should be excluded from speedy trial calculations

           on the basis that the ends of justice outweigh the best interest of the public and the

           defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
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                           Respectfully submitted,

                           MATTHEW M. GRAVES
                           UNITED STATES ATTORNEY
                           D.C. Bar No. 481052


                     By:   /s/ Brian Morgan
                           BRIAN MORGAN
                           Trial Attorney
                           Detailed to the District of Columbia
                           NY Bar No. 4276804
                           601 D Street NW
                           Washington, DC 20530
                           Brian.morgan@usdoj.gov
                           (202) 305-3717
